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                    United States Court of Appeals
                                     For the First Circuit
      No. 25-1428

       WOONASQUATUCKET RIVER WATERSHED COUNCIL; EASTERN RHODE ISLAND
        CONSERVATION DISTRICT; GREEN INFRASTRUCTURE CENTER; NATIONAL
        COUNCIL OF NONPROFITS; CHILDHOOD LEAD ACTION PROJECT; CODMAN
              SQUARE NEIGHBORHOOD DEVELOPMENT CORPORATION,

                                          Plaintiffs - Appellees,

                                                    v.

       U.S. DEPARTMENT OF AGRICULTURE; BROOKE ROLLINS, in their official capacity as
         Secretary of Agriculture; U.S. DEPARTMENT OF ENERGY; CHRIS WRIGHT, in their
       official capacity as Secretary of Energy; U.S. DEPARTMENT OF THE INTERIOR; DOUG
        BURGUM, in their official capacity as Secretary of the Interior; U.S. ENVIRONMENTAL
        PROTECTION AGENCY; LEE ZELDIN, in their official capacity as Administrator of the
         Environmental Protection Agency; U.S. OFFICE OF MANAGEMENT AND BUDGET;
       RUSSELL VOUGHT, in their official capacity as Director of the Office of Management and
        Budget; KEVIN HASSETT, in their official capacity as Director of the National Economic
        Council; U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT; SCOTT
           TURNER, in their official capacity as Secretary of Housing and Urban Development,

                                        Defendants - Appellants.


                                         ORDER OF COURT

                                         Entered: June 20, 2025
                                      Pursuant to 1st Cir. R. 27.0(d)


             Upon consideration of motion, it is ordered that the time for Appellants
      Douglas James Burgum,       Environmental      Protection     Agency,     Kevin Allen Hassett,
      Brooke L. Rollins, Scott Turner, US Dept of Agriculture, US Dept of Energy, US Dept of Housing
      & Urban Development, US Dept of the Interior, US Office of Management and Budget,
      Russell Thurlow Vought, Christopher Allen Wright and Lee M. Zeldin to file a brief and
      appendix be enlarged to and including August 6, 2025.


                                                  By the Court:
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                                          Anastasia Dubrovsky, Clerk


      cc:
      Amato A. DeLuca
      Kevin E. Friedl
      Kevin Love Hubbard
      Sean Janda
      Jessica Anne Morton
      Katelyn M. Revens
      Brian James Springer
      Daniel Tenny
      Robin F. Thurston
      Miriam Weizenbaum
      Lauren S. Zurier
